Mr. Michael Roufakis
January 30, 2015
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as an oversight function, in any respect of your accounting
system; therefore, there should be no reliance, stated or implied,
by management on the accuracy of the assistance we are to provide.
As a result of our assistance, we may propose
standard, adjusting, or correcting journal entries to your books
and records. However, management has final responsibility for
reviewing the proposed entries and understanding the nature and
impact of the proposed entries on the returns. Furthermore, it
is management's responsibility, once these entries have been
approved, to post the entries to its accounting system in a
timely manner.




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Supportable Positions
We will use our judgement to resolve questions in your favor where
a tax law is unclear assuming there is reasonable
justification for doing so. Whenever we are aware of conflicting
interpretations of the law by authorities, we will explain the
possible positions that may be taken on your return. We will
follow the position you request, provided it is consistent with
our understanding of the current tax code, laws, regulations and
their interpretations. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return
only if we have a reasonable belief that there is substantial
authority for a tax position taken on the xetarn or we have a
reasonable basis for a particular position and disclose it
separately on the return. If the IRS or state tax authorities
later contest a position taken, there may be an assessment of
additional tax, interest an.d penalties, which we assume no
liability. Thus, you hereby release us from any obligation for
such assessments. Beginning with the 2014 tax year, our
compliance with Circular 230, as stated above, also is conditioned
upon our knowledge that the taxpayer has adopted the accounting
methods, as prescribed under the Tangible Property Regulations, if
applicable.
Errors, Fraud or Theft
Our engagement does not include any procedures designed to
discover errors, fraud or theft. Therefore, our engagement cannot
he relied upon to disclose such matters.
Brokerage or Investment Advisory Statements
If you provide our firm with copies of brokerage (or investment
advisory) statements, we will use the information from these
Mr. Michael Honfakis
aanuary 30, 2015
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statements solely in connection with the preparation of your
income tax returns. We will rely on the accuracy of the
information provided in the statements and will not undertake any
action to verify this information. We will not monitor
investment activity, provide investment advice, or supervise the
actions of the entity or individuals performing investment
activities on your behalf. We recommend you review all brokerage
(or investment advisory) statements promptly and carefully and
direct any questions regarding activities on your account to you
broker or investment advisor.
Governmental Inquiries




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This engagement does not include responding to inquiries by any
governmental agency or tax authority. If your tax return is
selected for examination or audit, you may request we assist you
in responding to such inquiry. If you ask us to represent you, we
will confirm this in a separate engagement letter.
Timing of the Engagement
We expect to begin the preparation of your returns upon receipt of
the trial balance and other supporting data agreed to above.
If your return is electronically filed, our services will conclude
upon the filing and acceptance of your 2014 tax returns by the
appropriate taxing authorities. You will be required to verify and
sign a completed Form 8879, IRS e-file Signature Authorization,
and state equivalent authorization form before your returns can be
filed electronically. You are responsible for reviewing the
accuracy of all tax returns and any accompanying schedules and
statements prior to filing.
If your return is filed by mail, our services will be concluded
upon the delivery to you of your 2014 tax returns for your review
and filing with the appropriate taxing authorities.
Extensions of Time to Vile Tax Returns
It may become necessary to apply for an extension of the filing
deadline if we do not receive all of the supporting information on
a timely basis or if there are unresolved tax issues or delays in
processing. The Form 3115 issues, in all likelihood, will be a
source of delay for the 2014 filing year based on the complexities
and degree of application of the tangible property regulations.
In addition, we have been advised that the IRS most Mr. Michael
Koufakis
aanuary 30, 2015
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probably will be issuing a revised Form 3115 to be used.
To the extent you wish to engage our firm for extensions of time
to file tax returns on your behalf, you must notify us of this in
writing. Our firm will not file these applications unless we
receive either a signed copy of this engagement letter or your
express written authorization to do so. In some cases, your
signature may be needed on such applications prior to filing.
Penalties and Interest Charges
Federal, state and local taxing authorities impose various
penalties and interest charges for non-compliance with tax law,
including, for example, failure to file or late filing of tax




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returns and underpayment of taxes. You, as the taxpayer, remain
responsible for the payment of all taxes, penalties and interest
charges imposed by taxing authorities.
Fees and Billing
Our professional fees for this engagement are not contingent on
the results of our services but will be based upon the
complexity of the work to be performed and our professional time
to complete the work. We will charge a separate fee for the
preparation of the Forms 3115 noted above due to their non-
recurring nature. Additionally, the overall fees depend upon the
availability, quality and completeness of your records. We will
contact you to discuss any matter that causes an unanticipated
delay completing our engagement.
Any inability on our part to sign a tax return, such as because of
a disagreement over a disclosure of a tax position, non-response
by your of information requested or non-payment of fees (among
other things) will constitute a basis for our election to
terminate our services. If we elect to terminate our services,
our engagement will be deemed to have been completed upon written
notification of termination, even if we have not completed the
returns. The company will be obligated, through the date of
termination, to compensate us for all outstanding invoices as well
as our final invoice for our time through the date of our
withdrawal.
Miscellaneous
The /PS permits you to authorize us to discuss with its
representatives, on a limited basis, aspects of your return for
Mr. Michael Koufakis
January 30, 2015
Page 8
one year after the return's due date. Your consent to such a
discussion is evidenced by checking a box on the return. Unless
you tell us otherwise, we will check that box authorizing the IRS
to discuss your return with us.
Certain communications involving tax advice are privileged and not
subject to disclosure to the IRS. By disclosing the contents
of those communications to anyone, or by turning over information
about those communications to the government, you, your employees
or agents may be waiving this privilege. To protect this right to
privileged communication, please consult with us or your attorney
prior to disclosing any information about our tax advice. Should




                                                                     Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 4 of 69 PageID #: 1024
you decide that it is appropriate for us to disclose any
potentially privileged communication, you
agree to provide us with written, advance authority to make that
disclosure.
Should you receive any request for the disclosure of privilege
information from any third party, including a subpoena
or IRS summons, you will notify us. In the event that you direct
us not to make the disclosure, you agree to hold us harmless for
any expenses incurred in defending the privilege including, by way
of illustration only, our attorney's fees, court costs, outside
adviser's costs, or penalties or fines imposed as a result of your
asserting the privilege or your direction to us to assert the
privilege.
In the event we are required to respond to a subpoena, court order
or other legal process for the production of documents and/or
testimony relative to information we obtained and/or prepared
during the course of this engagement, you agree to
compensate us, as set forth above, for the time we expend in
connection with such response and to reimburse us for all of our
out-of-pocket costs incurred in this regard.
In the event that we become obligated to pay any judgement or
similar award, you agree to pay any amount in settlement, and any
cost incurred as a result of any inaccurate or incomplete
information that was provided to us during the course of this
engagement. You agree to indemnify us, defend us and hold us
harmless against such obligations, agreements and/or costs.
At the completion of our engagement, the original source documents
will be returned to you. Workpapers and other documents created
by us are our property. Such original workpapers will remain in
our control and copies are not to be distributed without our prior
written consent.
Mr. Michael Koufakis
January 30, 2015
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This engagement letter encompasses the entire agreement of the
parties and supersedes all previous understandings and agreements
between the parties, whether oral or written. Any modification
to the terms of the engagement letter must be made in writing and
signed by both parties.
If any portion of this engagement letter is deemed invalid ox
unenforceable, said finding shall not invalidate the remainder of
the terms set forth in this engagement letter.
We appreciate the opportunity to be of service to you. Please
date and sign the enclosed copy of this engagement letter and
return it to us to acknowledge your agreement with its terms. We




                                                                    Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 5 of 69 PageID #: 1025
can complete our engagement once we have received the signed copy
of this letter from you.
Very truly yours,
(150yaGiv-, 03apAct, 1110, =LI Cap., PR
VOYNOW, BAYARD, 'WHYTE AND CO., LLP
Approved and accepted by:
Client Name
Authorized Officer
Title
Date
VOYNOW BAYARD WHYTE
AND COMPANY, I•LP
CERTIFIED PUELIC AcCOUNTANTS
Mr. Michael Koufakis
Star Nissan, Inc
206-26 Northern Blvd
Bayside, NY 11361
RE: 205-11 Northern Blvd, LLC
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC
PARTNERS:
Evaxi vilITTR,
ezariNZTIt AthrtN.
RANDAL n. rRAN4.4EN.EpA




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DAVID A. EArLAN,
RouritT EIREIRDpn,
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ROsERT B. BAYARD, CM (t9j7,1011)
January 18, 2016
Georgia Koufakis Trust
Koufakis Childrens Trust
John M. Koufakis
Grandchildrens Trust
Roufakis Realty, LLC
Koufakis Realty 211-52 Jamaica Avenue, LLC
Star Auto Body of Queens Village, LLC
Star Auto Sales of Bayside, Inc
Star Auto Sales of Queens, LLC
Star Auto Sales of Queens County, LLC
Star Chrysler Jeep Dodge
Star Hyundai, LLC
Star Nissan, Inc
Dear Mr. Koufakis
We are pleased to provide you with the professional services
described below. This letter confirms our understanding of the
terms and objectives of our engagement and the nature and
limitations of the services we will provide. This engagement
between you and our firm will be governed by the terms of this
letter. We will perform our services in accordance with the
Statements on Standards for Tax Services issued by the American
Institute of Certified Public Accountants.
Scope of Engageraent
We will prepare the 2015 federal income tax returns for the above
entity(ies) and income/franchise tax returns for the state and
N0RTIIIIRDOR CORPoicATE CENTER• 1210 NORTEBROOE DRIVE • SUITE 140 • TREVOSE, VA 19053 • 215,355.8000 • 215.396.2.000 F
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localities representing the places of organization and/or where
doing business (collectively, the "returns" in 2015). You are
responsible for providing us all information necessary to
identify all state and localities in which business is conducted
or income is derived.
We will not prepare any tax returns except those identified
without your written authorization to do so. We will prepare
your tax returns based upon information and representations
provided to us. We will not audit or otherwise verify the data
you submit to us, although we may ask you to clarify some of the
information. We will prepare the tax returns solely for filing
with the Internal Revenue Service ("IRS") and state and local
authorities. They are not intended to benefit or influence any
third party, either to obtain debt or equity financing or for any




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other purpose. As such, we will not respond to any request from
banks, mortgage brokers or other lenders for verification of any
information reported on these tax returns.
As a result, you agree to indemnify and hold our firm and any of
its partners, principals, members, employees, agents or assigns
harmless with respect to any and all claims arising from the use
of the tax returns for any purpose other than filing with the IRS
and state and local tax authorities regardless of the nature of
the claim, including the negligence of any party.
Client Responsibilities
You will provide us with a trial balance and other supporting
data needed to prepare your tax returns. It is your obligation
to provide us with accurate and complete information, including
worldwide income.
Documentation
You are responsible for maintaining an adequate and efficient
accounting system for safeguarding assets and authorizing
transactions and maintaining adequate documentation to
substantiate the accuracy and completeness of your tax returns.
You should retain all documents that provide evidence and support
for reported income, credits, and deductions on your returns as
required under tax law. You are responsible for the adequacy of
all such documents. You represent that you have such
documentation and can produce it if needed to respond to any
audit or inquiry by taxing authorities. You agree to hold us
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harmless with respect to any additional taxes, penalties, or
interest imposed on you by taxing authorities resulting from the
disallowance of tax deductions due to inadequate documentation.
Personal Expenses
Unless we are otherwise advised, you are responsible for
confirming that personal expenses, if any, are segregated from
business expenses and expenses such as meals, travel,
entertainment, vehicle use, gifts, and related expenses that are
supported by necessary records required by the IRS and other
taxing authorities. At your request, we are available to answer
your questions and advise you on the types of supporting records
required.
Employment Records
You are responsible for obtaining Forms 1-9, Employment




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Eligibility Verification Form, from each new employee at the time
of employment. In addition, Federal Form W-4, Employee's
Withholding Allowance Certificate, and the applicable state
equivalent should be retained for all employees. Failure to
obtain these forms may subject an employer to penalties.
Additional state requirements related to employment records may
exist.
Worker Classification
You are responsible for determining the correctness of any
employment relationship which you have deemed to be that of an
independent contractor. Payroll tax withholding and related
employer payroll tax implications result from this determination.
We recommend obtaining a Form W-9, Request for Taxpayer
Identification Number and Certification, signed by the
independent contractor, as well as a signed contract with the
independent contractor. A Form 1099-M1SC, Miscellaneous Income,
should be issued to all unincorporated independent contractors to
whom you pay $600 or more for services. In the preparation of
your tax returns, we will presume, when it appears to be self-
evident from the trial balance and other supporting data that
payments were made that met this threshold (or some other 1099
form filing requirements), that management has filed these forms
unless we are expressly told otherwise.
3
Listed Transactions and Transactions of Interest
You acknowledge your responsibility to inform us of any listed
transactions or transactions of interest as designated by the
IRS. You agree to hold us harmless with respect to any
additional taxes, penalties, or interest imposed on you by taxing
authorities resulting from your failure to timely notify us, in
writing, of all such transactions in order to facilitate the
timely preparation and filing of your tax returns.
State and Local Filing Obligations
You are responsible for determining your state or local tax
filing obligations with any state or local tax authorities,
including, but not limited to, income, franchise, sales, use,
property or unclaimed property taxes. You agree that we have no
responsibility to research these obligations or to inform you of




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them other than those addressed in the engagement scope section.
If upon review of the information you have provided us and other
information that comes to our attention, we believe you may have
an obligation to file additional tax returns, we will notify you
of this responsibility. If you ask us to prepare these returns,
we will confirm accordingly in a separate engagement letter.
U.S. Filing Obligations Related to Foreign Financial Assets
As part of your filing obligations you are required to report the
maximum value of specified foreign financial assets, which
include financial accounts with foreign institutions and certain
other foreign non-account investment assets that exceed certain
thresholds.
It is your responsibility to inform us if you directly or
indirectly hold any interests in businesses located in a foreign
country or have signatory authority in any assets or financial
accounts located in a foreign country. Based upon the
information you provide, this information will be used to
calculate any applicable foreign tax credits. We will also use
this data to inform you of any additional filing requirements
which may include FinCen Form 114 Report of Foreign Bank and
Financial Accounts (FBAR). Failure to file required forms can
result in the imposition of both civil and criminal penalties,
which can be significant. These are not tax returns in the
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normal sense and their preparation is not within the scope of
this engagement. If you ask us to prepare these forms, we will
confirm this matter in a separate engagement letter.
Foreign Filing Obliaations
You are responsible for complying with any other country's income
reporting and tax filing requirements. If you have reason to
believe there exists the possibility of any foreign tax filing
obligations, please contact us to discuss your concerns.
Affordable Care Act
The Affordable Care Act ("ACA") added various new health
insurance related mandates, penalties and credits to the Internal
Revenue Code beginning in 2014. You acknowledge and agree that
we are relying solely on the information provided to us by you in
connection with the preparation of the tax forms. Unless notified




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otherwise, we are presuming that you are in. compliance with the
ACA, with the knowledge that all employees in 2015 had minimum
essential coverage or qualified for exemptions, as well as your
shared responsibility payment requirements. We have not been
engaged to provide any advice regarding the eligibility for any
credits or estimates of any payments or penalties. We recommend
that you consult with your insurance broker or advisor with
respect to these matters.
Capitalization Policy-
For entities owning tangible property, you were responsible for
establishing a capitalization policy for recording fixed assets




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as of January 1, 2015 in order to apply the Debanimus Safe Harbor
for deductible expenditures under the Treasury's final "Tangible
Property Regulations". We are relying solely on the information
provided to us by management regarding your accounting system!s
criteria for ;the categorization of capitalizable and non-
capitalizable expenditures related to tangible property. Please
let us know if you have any questions on the aforementioned
regulations.
CPA Firm Responsibilities
Our services will be limited to only those tasks we deem
necessary for the preparation of the returns. We may deem it
necessary to provide you with accounting and bookkeeping
5
assistance in that regard. We will request your approval before
rendering these services, if they look to be significant, since
additional charges would apply. Please note that we will not
validate the completeness or accuracy of the information
supplied, and the assistance we do provide is not to be construed
as an oversight function, in any respect of your accounting
system; therefore, there should be no reliance, stated or
implied, by management on the accuracy of the assistance we are
to provide. As a result of our assistance, we may propose
standard, adjusting, or correcting journal entries to your books
and records. However, management has final responsibility for
reviewing the proposed entries and understanding the nature and
impact of the proposed entries on the returns. Furthermore, it
is managementts responsibility, once these entries have been




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approved, to post the entries to its accounting system in a
timely manner.
Supportable Positions
We will use our judgement to resolve questions in your favor
where a tax law is unclear assuming there is reasonable
justification for doing so. Whenever we are aware of conflicting
interpretations of the law by authorities, we will explain the
possible positions that may be taken on your return. We will
follow the position you request, provided it is consistent with
our understanding of the current tax code, laws, regulations and
their interpretations. Pursuant to standards prescribed in IRS




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Circular 230 and IRC 6694, we are permitted to sign a tax return
only if we have a reasonable belief that there is substantial
authority for a tax position taken on the return or we have a
reasonable basis for a particular position and disclose it
separately on the return. If the IRS or state tax authorities
later contest a position taken, there may be an assessment of
additional tax, interest and penalties, which we assume no
liability. Thus, you hereby release us from any obligation for
such assessments.
Errors. Fraud or Theft
Our engagement does not include any procedures designed to
discover errors, fraud or theft. Therefore, our engagement
cannot be relied upon to disclose such matters.
Brokerage or Investment Advisory Statements
6
If you provide our firm with copies of brokerage (or investment
advisory) statements, we will use the information from these
statements solely in connection with the preparation of your
income tax returns. We will rely on the accuracy of the
information provided in the statements and will not undertake any
action to verify this information. We will not monitor
investment activity, provide investment advice, or supervise the
actions of the entity or individuals performing investment
activities on your behalf. We recommend you review all brokerage
(or investment advisory) statements promptly and carefully and
direct any questions regarding activities on your account to your
banker, broker or investment advisor.
Governmental Inquiries
This engagement does not include responding to inquiries by any




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governmental agency or tax authority. If your tax return is
selected for examination or audit, you may request we assist you
in responding to such inquiry. If you ask us to represent you,
we will confirm this in a separate engagement letter.
Timing of the Engagement
We expect to begin the preparation of your returns upon receipt
of the trial balance and other supporting data agreed to above.
.If your return is electronically filed, our services will
conclude upon the filing and acceptance of your 2015 tax returns
by the appropriate taxing authorities. You will be required to
verify and sign a completed Form 8879, IRS e-file Signature




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Authorization, and state equivalent authorization form before
your returns can be filed electronically. You are responsible
for reviewing the accuracy of all tax returns and any
accompanying schedules and statements prior to filing.
If your return is filed by mail, our services will be concluded
upon the delivery to you of your 2015 tax returns for your review
and filing with the appropriate taxing authorities.
Extensions of Time to File Tax Returns
It may become necessary to apply for an extension of the filing
deadline if we do not receive all of the supporting information
on a timely basis or if there are unresolved tax issues or delays
in processing.
To the extent you wish to engage our firm for extensions of time
to file tax returns on your behalf, you must notify us of this in
writing. Our firm will not file these applications unless we
receive either a signed copy of this engagement letter or your
separate expressed written authorization to do so. In some
cases, your signature may be needed on such applications prior to
filing.
Penalties and Interest Charges
Federal, state and local taxing authorities impose various
penalties and interest charges for non-compliance with tax law,
including, for example, failure to file or late filing of tax
returns and underpayment of taxes. You, as the taxpayer/ remain
responsible for the payment of all taxes, penalties and interest
charges imposed by taxing authorities.




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We rely on the accuracy and completeness of the information you
provide to us in connection with the preparation of your tax
returns. Failure to disclose/ or inadequate disclosure of income.
or tax positions, can result in the imposition of penalties and
interest charges.
Fees and Billing
Our professional fees for this engagement are not contingent on
the results of our services but will be based upon the
complexity of the work to be performed and our professional time
to complete the work. Additionally, the overall' fees depend upon
the availability, quality and completeness of your records. We




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will contact you to discuss any matter that causes an
unanticipated delay completing our engagement.
Any inability on our part to sign a tax return, such as because
of a disagreement over a disclosure of a tax position, non-
response by you for information requested or non-payment of fees
(among other things) will constitute a basis for our election to
terminate our services. If we elect to terminate our services,
our engagement will be deemed to have been completed upon written
notification of termination, even if we have not completed the
returns. The company will be obligated, through the date of
termination, to compensate us for all outstanding invoices as
well as our final invoice for our time through the date of our
withdrawal.
Miscellaneous
The IRS permits you to authorize us to discuss with its
representatives, on a limited basis, aspects of your return for
one year after the return's due date. Your consent to such a
discussion is evidenced by checking a box on the return. Unless
you tell us otherwise, we will check that box authorizing the IRS
to discuss your return with us.
Certain communications involving tax advice are privileged and
not subject to disclosure to the IRS. By disclosing the contents
of those communications to anyone, or by turning over information
about those communications to the government, you, your employee
or agents may be waiving this privilege. To
protect this right to privileged communication, please consult
with us or your attorney prior to disclosing any information




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about our tax advice. Should you decide that it is appropriate
for us to disclose any potentially privileged communication, you
agree to provide us with written, advance authority to make that
disclosure.
Should you receive any request for the disclosure of privilege
information from any third party, including a subpoena
or IRS summons, you will notify us. In the event that you direct
us not to make the disclosure, you agree to hold us harmless for
any expenses incurred in defending the privilege including, by
way of illustration only, our attorney's fees, court costs,
outside adviser's costs, or penalties or fines imposed as a




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result of your asserting the privilege or your direction to us to
assert the privilege.
In the event we are required to respond to a subpoena, court
order or other legal process for the production of documents
and/or testimony relative to information we obtained and/or
prepared during the course of this engagement, you agree to
compensate us, as set forth above, for the time we expend in
connection with such response and to reimburse us for all of our
out-of-pocket costs incurred in this regard.
In the event that we become obligated to pay any judgement or
similar award, you agree to pay any amount in settlement, and any
cost incurred as a result of any inaccurate or incomplete
information that was provided to us during the course of this
9
engagement. You agree to indemnify us, defend us and hold us
harmless against such obligations, agreements and/or costs.
At the completion of our engagement, the original source
documents will be returned to you. Workpapers and other
documents created by us are our property. Such original
workpapers will remain in our control and copies are not to be
distributed without our prior written consent.
You may request that we perform additional services not
contemplated by this engagement letter. If this occurs, we will
communicate with you regarding the scope and estimated cost of
these additional services. Engagements for additional services
may necessitate that we amend this letter or issue a separate
engagement letter to reflect the obligations of both parties. In
the absence of any other written communications from us




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documenting additional services, our services will be limited to
and governed by the terms of this engagement letter.
At the completion of our engagement, the original source
documents will be returned to you. Workpapers and other
documents created by us are our property. Such original
workpapers will remain in our control and copies are not to be
distributed without our prior written consent.
This engagement letter encompasses the entire agreement of the
parties and supersedes all previous understandings and agreements
between the parties, whether oral or written. Any modification
to the terms of the engagement letter must be made in writing and




                                                                                                        1035
signed by both parties.
If any portion of this engagement letter is deemed invalid or
unenforceable, said finding shall not invalidate the remainder of
the terms set forth in this engagement letter.
10
We appreciate the opportunity to be of service to you. Please
date and sign below and return to us to acknowledge your
agreement with these terms. We will not be in a position to
complete our engagement unless we have received the signed copy
of this letter from you.
Very truly yours,
Nrovi-2 gartycl, 'Wfwito cual CG=.1 216°
VOYNOW, BAYARD, WHYTE AND CO., LIP
Approved and accepted by:
Client Name
Authorized Officer
Title
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                                                                                                      1036
VOYNOW BAYARD WHYTE
AND COMPANY,
CERTIFIED PUBLIC ACCOUNTANTS
Mr. Michael Koufakis
Star Nissan, Inc
206-26 Northern Blvd
Bayside, NY 11361
RE: 205-11 Northern Blvd, LIC
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC
January 3, 2017
PARTNERS:
gluon W1'1'1174 ItIVi
RStINETII MAHN, (rA,




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DOM A. KAPLAN, CPA
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ROBERT U. BAYA11:), CPA (r07•Jots)
Georgia Koufakis Trust
Koufakis Childrens Trust
John M. Koufakis




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Grandchildrens Trust
Koufakis Realty, LLC
Koufakis Realty 211-S2 Jamaica Avenue, LLC
Star Auto Hedy of Queens Village, LLC
Star Auto Sales of Bayside, Inc
Star Auto Sales of Queens, ILC
Star Auto Sales of Queens County, MC
Star Chrysler Jeep Dodge
Star Hyundai, LLC
Star Nissan, Inc
Dear Mr. Koufakis
We are pleased to provide you with the professional services
described below. This letter confirms our understanding of the
terms and objectives of our engagement and the nature and
limitations of the services we will provide. This engagement
between you and our firm will be governed by the terms of this
letter. We will perform our services in accordance with the
Statements on Standards for Tax Services issued by the American
Institute of Certified Public Accountants.
Scope of Engagement
We will prepare the 2016 federal income tax returns for the above
entity(ies) and income/franchise tax returns for the state and
localities representing the places of organization and/or where
doing business (collectively, the "returns" in 2016). You are
responsible for providing us all information necessary to
NORTHBROOX CORPORATE CI1NTER • 12.10 NORTHERS:10K DRIVE • SUITE 140 •TRF.VOSII, PA '9053. x15.355,8coo • 2.15.39 6.2000 F
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MEMBER.. PENNSYLVANIA INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
identify all state and localities in which business is conducted
or income is derived.
We will not prepare any tax returns except those identified
without your written authorization to do so. We will prepare
your tax returns based upon information and representations
provided to us. We will not audit or otherwise verify the data
you submit to us, although we may ask you to clarify some of the
information. We will prepare the tax returns solely for filing
with the Internal Revenue Service ("IRS") and state and local
authorities. They are not intended to benefit or influence any
third party, either to obtain debt or equity financing or for any
other purpose. As such, we will not respond to any request from
banks, mortgage brokers or other lenders for verification of any
information reported on these tax returns.




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As a result, you agree to indemnify and hold our firm and any of
its partners, principals, members, employees, agents or assigns
harmless with respect to any and all claims arising from the use
of the tax returns for any purpose other than filing with the IRS
and state and local tax authorities regardless of the nature of
the claim, including the negligence of any party.
Client Responsibilities
You will provide us with a trial balance and other supporting
data needed to prepare your tax returns. It is your obligation
to provide us with accurate and complete information, including
worldwide income.




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Documentation
You are responsible for maintaining an adequate and efficient
accounting system for safeguarding assets and authorizing
transactions and maintaining adequate documentation to
substantiate the accuracy and completeness of your tax returns.
You should retain all documents that provide evidence and support
for reported income, credits, and deductions on your returns as
required under tax law. You are responsible for the adequacy of
all such documents. You represent that you have such
documentation and can produce it if needed to respond to any
audit or inquiry by taxing authorities. You agree to hold us
harmless with respect to any additional taxes, penalties, or
interest imposed on you by taxing authorities resulting from the
disallowance of tax deductions due to inadequate documentation.
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Personal Expenses
You are responsible for confirming that personal expenses, if
any, are segregated from business expenses and expenses such as
meals, travel, entertainment, vehicle use, gifts, and related
expenses that are supported by necessary records required by the
IRS and other taxing authorities. At your request, we are
available to answer your questions and advise you on the types of
supporting records required.
Employment Records
You are responsible for obtaining Forms 1-9, Employment
Eligibility Verification Form, from each new employee at the time
of employment. In addition, Federal Form W-4, Employee's
Withholding Allowance Certificate, and the applicable state
equivalent should be retained for all employees. Failure to




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obtain these forms may subject an employer to penalties.
Additional state requirements related to employment records may
exist.
WOrkr Classification
You are responsible for determining the correctness of any
employment relationship which you have deemed to be that of an
independent contractor. Payroll tax withholding and related
employer payroll tax implications result from this determination.
We recommend obtaining a Form W-9, Request for Taxpayer
Identification Number and Certification, signed by the
independent contractor, as well as a signed contract with the




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independent contractor. A Form 1099-MISC, Miscellaneous Income,
should be issued to all unincorporated independent contractors to
whom you pay $600 or more for services. In the preparation of
your tax returns, we will presume, when it appears to be self-
evident from the trial balance and other supporting data that
payments were made that met this threshold (or some other 1099
form filing requirements), that management has filed these forms
unless we are expressly told otherwise.
Listed Transactions and Transactions of Interest
You acknowledge your responsibility to inform us of any listed
transactions or transactions of interest as designated by the
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IRS. You agree to hold us harmless with respect to any
additional taxes, penalties, or interest imposed on you by taxing
authorities resulting from your failure to timely notify us, in
writing, of all such transactions in order to facilitate the
timely preparation and filing of your tax returns.
State and Local Filing Obligations
You are responsible for determining your state or local tax
filing obligations with any state or local tax authorities,
including, but not limited to, income, franchise, sales, use,
property or unclaimed property taxes. You agree that we have no
responsibility to research these obligations or to inform you of
them other than those addressed in the engagement scope section.
If upon review of the information you have provided us and other
information that comes to our attention, we believe you may have




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an obligation to file additional tax returns, we will notify you
of this responsibility. If you ask us to prepare these returns,
we will confirm accordingly in a separate engagement letter.
U.S. Filing Obligations Related to Foreign Financial Assets
As part of your filing obligations you are required to report the
maximum value of specified foreign financial assets, which
include financial accounts with foreign institutions and certain
other foreign non-account investment assets that exceed certain
thresholds.
It is your responsibility to inform us if you directly or
indirectly hold any interests in businesses located in a foreign




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country or have signatory authority in any assets or financial
accounts located in a foreign country. Based upon the
information you provide, this information will be used to
calculate any applicable foreign tax credits. We will also use
this data to inform you of any additional filing requirements
which may include FinCen Form 114 Report of Foreign Bank and
Financial Accounts (MAR). Failure to file required forms can
result in the imposition of both civil and criminal penalties,
which can be significant. These are not tax returns in the
normal sense and their preparation is not within the scope of
this engagement. If you ask us to prepare these forms, we will
confirm this matter in a separate engagement letter.
Foreign Filing Obligations
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You are responsible for complying with any other country's income
reporting and tax filing requirements. If you have reason to
believe there exists the possibility of any foreign tax filing
obligations, please contact us to discuss your concerns.
Affordable Care Act
The Affordable Care Act ("ACA") added various new health
insurance related mandates, penalties and credits to the Internal
Revenue Code beginning in 2014. You acknowledge and agree that
we are relying solely on the information provided to us by you in
connection with the preparation of the tax forms. Unless notified
otherwise, we are presuming that you are in compliance with the
ACA, with the knowledge that all employees in 2016 had minimum
essential coverage or qualified for exemptions, as well as your
shared responsibility payment requirements and filing of Forms




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1094 B and C (self-insured) or Forms 1095 B and C (third party
insurer). We have also not been engaged to provide any advice
regarding the eligibility for any credits or estimates of any
payments or penalties. We recommend that you consult with your
insurance broker or advisor with respect to these matters.
Capitalization Policy
For entities owning tangible property, you were responsible for re-
establishing a capitalization policy for recording these fixed
assets as of January 1, 2017 in order to apply the DeMinimus Safe
Harbor for determining deductible expenditures under the Treasury's
final "Tangible Property Regulations". We are relying solely on




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the information provided to us by management within the accounting
system, as to the criteria used for the categorization in the books
and records of capitalizable and non-capitalizable expenditures
related to tangible property. Please let us know if you have any
questions on the aforementioned regulations.
Partnership or Limited Liability Company (LLC) Agreements
For your partnerships and LLC's, you should review your agreements
With your attorney to ensure it address the significant changes
to partnership audit regime that will generally apply to
partnership returns file after 2018. These changes include, but
are not limited to the following:
• Replacement of a "tax matters partner" with a "partnership
representative,"
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• Current partners being held responsible for tax liabilities
of prior partners,
• The partnership being held responsible for remittance of
additional tax rather than individual partners being taxed,
and
• Numerous elections or opt-outs that the "partnership
representative" may make.
CPA Firm Responsibilities
Our services will be limited to only those tasks we deem
necessary for the preparation of the returns. We may deem it
necessary to provide you with accounting and bookkeeping
assistance in that regard. We will request your approval before
rendering these services, if they look to be significant, since
additional charges would apply. Please note that we will not




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validate the completeness or accuracy of the information
supplied, and the assistance we do provide is not to be construed
as an oversight function, of your accounting system, in any
respect; therefore, there should be no reliance, stated or
implied, by management on the accuracy of the assistance we are
to provide. As a result of our assistance, we may propose
standard, adjusting, or correcting journal entries to your books
and records. However, management has final responsibility for
reviewing the proposed entries and understanding the nature and
impact of the proposed entries on the returns. Furthermore, it
is management's responsibility, once these entries have been




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approved, to post the entries to its accounting system in a
timely manner.
Supportable Positions
We will use our judgement to resolve questions in your favor
where a tax law is unclear assuming there is reasonable
justification for doing so. Whenever we are aware of conflicting
interpretations of the law by authorities, we will explain the
possible positions that may be taken on your return. We will
follow the position you request, provided it is consistent with
our understanding of the current tax code, laws, regulations and
their interpretations. Pursuant to standards prescribed in /PS
Circular 230 and IRC 6694, we are permitted to sign a tax return
only if we have a reasonable belief that there is substantial
authority for a tax position taken on the return or we have a
reasonable basis for a particular position and disclose it
separately on the return. If the IRS or state tax authorities
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later contest a position taken, there may be an assessment of
additional tax, interest and penalties, which we assume no
liability. Thus, you hereby release us from any obligation for
such assessments.
Errors, Fraud or Theft
Our engagement does not include any procedures designed to
discover errors, fraud or theft. Therefore, our engagement
cannot be relied upon to disclose such matters.
Brokerage or Investment Advisory Statements
If you provide our firm with copies of brokerage (or investment
advisory) statements, we will use the information from these
statements solely in connection with the preparation of your
income tax returns. We will rely on the accuracy of the
information provided in the statements and will not undertake any




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action to verify this information. We will not monitor
investment activity, provide investment advice, or supervise the
actions of the entity or individuals performing investment
activities on your behalf. We recommend you review all brokerage
(or investment advisory) statements promptly and carefully and
direct any questions regarding activities on your account to your
banker, broker or investment advisor.
Governmental Inquiries
This engagement does not include responding to inquiries by any
governmental agency or tax authority. If your tax return is
selected for examination or audit, you may request we assist you




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in responding to such inquiry. If you ask us to represent you,
we will confirm this in a separate engagement letter.
15:ming of the Engagement
We expect to begin the preparation of your returns upon receipt
of the trial balance and other supporting data agreed to above.
If your return is electronically filed, our services will
conclude upon the filing and acceptance of your 2017 tax returns
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by the appropriate taxing authorities. You will be required to
verify and sign a completed Form 8879, IRS e-file Signature
Authorization, and state equivalent authorization form(s) before
your returns can be filed electronically. You are responsible
for reviewing the accuracy of all tax returns and any
accompanying schedules and statements prior to filing.
If your return is filed by mail, our services will be concluded
upon the delivery to you of your 2017 tax returns for your review
and filing with the appropriate taxing authorities.
xtensions of rime to File Tax Returns
It may become necessary to apply for an extension of the filing
deadline if we do not receive all of the supporting information
on a timely basis ox if there are unresolved tax issues or delays
in processing.




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To the extent you wish to engage our firm for extensions of time
to file tax returns on your behalf, you must notify us of this in
writing. Our firm will not file these applications unless we
receive either a signed copy of this engagement letter or your
separate expressed written authorization to do so. In some
cases, your signature may be needed on such applications prior to
filing.
Penalties and Interest Charges
Federal, state and local taxing authorities impose various
penalties and interest charges for non-compliance with tax law,
including, for example, failure to file or late filing of tax




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returns and underpayment of taxes. You, as the taxpayer, remain
responsible for the payment of all taxes, penalties and interest
charges imposed by taxing authorities.
We rely on the accuracy and completeness of the information you
provide to us in connection with the preparation of your tax
returns. Failure to disclose, or inadequate disclosure of income
or tax positions, can result in the imposition of penalties and
interest charges.
Fees and Billing
Our professional fees for this engagement are not contingent on
the results of our services but will be based upon the
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complexity of the work to be performed and our professional time
to complete the work. Additionally, the overall fees depend upon
the availability, quality and completeness of your records. We
will contact you to discuss any matter that causes an
unanticipated delay completing our engagement.
Any inability on our part to sign a tax return, such as because
of a disagreement over a disclosure of a tax position, non-
response by you for information requested or non-payment of fees
(among other things) will constitute a basis for our election to
terminate our services. If we elect to terminate our services,
our engagement will be deemed to have been completed upon written
notification of termination, even if we have not completed the
returns. The company will be obligated, through the date of
termination, to compensate us for all outstanding invoices as




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well as our final invoice for our time through the date of our
withdrawal.
Miscellaneous
The IRS permits you to authorize us to discuss with its
representatives, on a limited basis, aspects of your return for
one year after the return's due date. Your consent to such a
discussion is evidenced by checking a box on the return. Unless
you tell us otherwise, we will check that box authorizing the IRS
to discuss your return with us.
Certain communications involving tax advice are privileged and
not subject to disclosure to the IRS. By disclosing the contents




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of those communications to anyone, or by turning over information
about those communications to the government, you, your employee
or agents may be waiving this privilege. To
protect this right to privileged communication, please consult
with us or your attorney prior to disclosing any information
about our tax advice. Should you decide that it is appropriate
for us to disclose any potentially privileged communication, you
agree to provide us with written, advance authority to make that
disclosure.
Should we receive any request for the disclosure of privileged
information from any third party, including a subpoena
or IRS summons, we will notify you. In the event that you direct
us not to make the disclosure, you agree to hold us harmless for
any expenses incurred in defending the privilege including, by
way of illustration only, our attorney's fees, court costs,
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outside adviser's costs, or penalties or fines imposed as a
result of your asserting the privilege or your direction to us to
assert the privilege.
In the event we are required to respond to a subpoena, court
order or other legal process for the production of documents
and/or testimony relative to information we obtained and/or
prepared during the course of this engagement, you agree to
compensate us, as set forth above, for the time we expend in
connection with such response and to reimburse us for all of our
out-of-pocket costs incurred in that regard.
In the event that we become obligated to pay any judgement or
similar award, you agree to pay any amount in settlement, and any
costs incurred as a result of any inaccurate or incomplete
information that was provided to us during the course of this




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engagement. You agree to indemnify us, defend us and hold us
harmless against such obligations, agreements and/or costs.
At the completion of our engagement, the original source
documents will be returned to you. Workpapers and other
documents created by us are our property. Such original
proprietary workpapers will remain in our control and copies are
not to be distributed without our prior written consent.
You may request that we perform additional services not
contemplated by this engagement letter. If this occurs, we will
communicate with you regarding the scope and estimated cost of
these additional services. Engagements for additional services




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may necessitate that we amend this letter or issue a separate
engagement letter to reflect the obligations of both parties. In
the absence of any other written communications from us
documenting additional services, our services will be limited to
and governed by the terms of this engagement letter.
This engagement letter encompasses the entire agreement of the
parties and supersedes all previous understandings and agreements
between the parties, whether oral or written. Arty modification
to the terms of the engagement letter must be made in writing and
signed by both parties.
If any portion of this engagement letter is deemed invalid or
unenforceable, said finding shall not invalidate the remainder of
the terms set forth in this engagement letter.
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We appreciate the opportunity to be of service to you. Please
date and sign below and return to us to acknowledge your
agreement with these terms. We will not be in a position to
complete our engagement unless we have received the signed copy
of this letter from you.
Very truly yours,
%row., acrid, WO =al Ce,.,llJ
VOYNOW, BAYARD, WHYTE AND CO., LLP
Approved and accepted by:
Authorized Owner/Officer
Title
Date
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VOYNOW, BAYARD AND COMPANY
CERTIFIED PUBLIC ACCOUNTANTS
NORTHBROOK CORPORA= CENTER
PARTNERS: 1210 Nona MO OR DRIVE, SUITE 140
Hog EV IL BAYARD, CM
KENNETH HANN, CM TREVOSE,PENINSYLVANIAD053
TIMM WHYTE, CM (215)355.8000
RANDALL E. FRANZEN, CPA FAX: (215)196-2000
DAVID A. KAPLAN, CPA
clIARLEs1.13.05S;CPA
STEVEN W.WEITE, CPA
December 30, 2008
Mt. John Koufakis
Star Nissan, Inc.




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 29 of 69 PageID #:
206-26 Northern Boulevard
Bayside, NY 11361
Re: Star Toyota
Dear JOhn:
Phul.v0VNEw, CPA
We are pleased to confirm and specify the terms of our engagement with. the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (heir) tax
return(s).
We will prepare the 20013 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,




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the "returns) in 2008. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities.
We will prepare the returns from information provided us. It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive:
•
•
•
Reconciling of Retained Earnings
Recognition of Depreciation and Amortization Expenses
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be .no reliance,
MEMBER. AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
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Star Nissan, Inc.
December 30, 2008
Page 2
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A




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company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.




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The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review al/ of the information presented
on the tax returns for correctness.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adept, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and /RC 6694, we are forbidden from signing a tax return
unless we have a reasonable belief that there is substantial authority for
a tax position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Star Nissan, Inc.
December 30, 2008
Page 3
Our fees for this engagement are not contingent on the results of our
service. Rather, our fees for this engagement will be based on a number of
factors, including but not limited to, the time spent as well as the
complexity of the services we will perform.
We reserve the right to suspend our services or to withdraw from this
engagement in the event that any of our invoices are deemed delinquent. In
the event that any collection action is required to collect unpaid balances
due us, the company agrees to reimburse us for the costs of collection
including attorneys' fees.
Any inability to sign a tax return, or non-response of information
requested will constitute a basis for our election to terminate our




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services. If we elect to terminate our services, our engagement will be
deemed to have been completed upon written notification of termination,
even if we have not completed the returns. The company will be obligated,
through the date of termination, to compensate us for all outstanding
invoices as well as our final invoice.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response.
In the event that we become obligated to pay any judgement or similar




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award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
If the foregoing is in accordance with your understanding, please sign the
copy of this letter in the space provided and return it to us.
Very truly yours,
Verotu-, garthct ailitt eavflylattui/
VOYNOW, BAYARD AND COMPANY
Certified Public Accountants
ACKNOWLEDGED:
john Koufakis
Date
VOYNOW, BAYARD AND COMPANY
CERTIFIED PUBLIC AccoutIrAms
NORTHBROOK CORPORATE CENTER
PARTNERS:
1210 NO RTHB RO OK DRIVZ, SUITE 140
ROBEIRTH. BAYARD. CPA
FrENNIITH MANN, CPA IRRVOSE, PENN symANIA
HUGH WHYTE, CPA (215)35540GO
RANDALL E. FRANZEN, CPA FAX (215)3954000
DAVID A. ICAPLAN, CPA
C HAMM L. BLoss; cpA
STENW.v3ftTE, GM
December 30, 2008
Mr. Mike Koufakis




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Star Toyota
205-11 Northern Boulevard
Bayside, NY 11361
Re: Star Toyota
Star Hyundai
Star Mitsubishi
Xoufakis Reality, LLC
Koufakis Realty 211-52 Jamaica Ave, LLC
211-48 Jamaica Ave LLC
210-10 Jamaica Ave, LLC
Dear Mike:




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PAULYCYNOW, CPA
We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax
return(s).
We will prepare the 2008 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2006. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities.
We will prepare the returns from information provided us. It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive:
• Reconciling of Retained Earnings
• Recognition of Depreciation and Amortization Expenses
MEMBER* ANIERICAN manure OF CERTIFIED F DB LIC AccouNtorrs
MEMBER PENNSYLVANIA INSTITUTE OF CERTIFIED PUBLICACCOUNTANTS
Star Toyota
December 30, 2008
Page 2
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be no reliance,
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 33 of 69 PageID #:
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will




                                                                                                                  1053
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
Star Toyota
December 30, 2008
Page 3
information provided by vs. Pursuant to standards prescribed in IRS
Circular 230 and IC 6694, we are forbidden from signing a tax return
unless we have a reasonable belief that there is substantial authority for
a tax position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Our fees for this engagement are not contingent on the results of our
service. Rather, our fees for this engagement will be based on a number of
factors, including but not limited to, the time spent as well as the
complexity of the services we will perform.




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 34 of 69 PageID #:
We reserve the right to suspend our services or to withdraw
engagement in the event that any of our invoices are deemed
the event that any collection action is required to collect
due us, the company agrees to reimburse us for the costs of
including attorneys' fees.
from this
delinquent. In
unpaid balances
collection
Any inability to sign a tax return, or non-response of information
requested will constitute a basis for our election to terminate our




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services. If we elect to terminate our services, our engagement will be
deemed to have been completed upon written notification of termination,
even if we have not completed the returns. The company will be obligated,
through the date of termination, to compensate us for all outstanding
invoices as well as our final invoice.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response.
In the event that we become obligated to pay any judgement or similar
award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any qnestions, please let us know. We will be pleased to discuss
this letter with you at any time.
If the foregoing is in accordance with your understanding, please sign the
copy of this letter in the space provided and return it to us.
Star Toyota
Deceniber 30, 2008
Page 4
Very truly yours,
VerNV-, garbatml empal
VOYNOW, BAYAnD AND COMPANY
Certified Public Accountants
ACKNOWLEDGED:
Mike Koufakis
Date




                               Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 35 of 69 PageID #:
                                                                   1055
VOYNOW, BAYARD AND COMPANY
CERTIFIED PUBLIC ACCOUNTANTS
NoRTEBROOR CORPORATE CENTER
MAINERS:
'no NORTHBROOX DRIVE, SUITE 140
RODERTIL BAYARD, CPA
KENNETH MANN, CPA TREVOSE, PENNSYLVANIA 00S3
HUG II 191IYIE, CPA (215)355400
RANDALL R. FRANZEN. CPA FAX (215)39640011
DAVID A. KAPLAN, CPA
CHARLES!. MOSS; cm.
5VEBNW.I1 CPA
December 30, 2008
Mt. Steve Koufakis




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 36 of 69 PageID #:
Metro Chrysler
c/o Star Nissan, Inc.
206-26 Northern Boulevard
Bayside, NY 11361
Re: Metro Chrysler
Star Auto Body of Queen Village LLC
Dear Steve:
zunArayNDW. CPA
We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax




                                                                                                                  1056
return(s).
We will prepare the 2008 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2008. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities.
We will prepare the returns from information provided us, It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive:
•
•
•
Reconciling of Retained Earnings
Recognition of Depreciation and Amortization Expenses
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
MEMBER', AMERICAN INSTITUTE OA CERTIFIED PUBLIC ACCOUNTANTS
MEMBER. PENNSYLVANIA INSTITUTE OF cERD MED PUBLIC ACCOUNTANTS
Metro Chrysler
DeceMber 30, 2008
Page 2
of a company's accounting system,: therefore, there should be no reliance,
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 37 of 69 PageID #:
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that




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clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are forbidden from signing a tax return
unless we have a reasonable belief that there is substantial authority for
a tax position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Metro Chrysler
December 30, 2008
Page 3
Our fees for this engagement are not contingent on the results of our
service. Rather, our fees for this engagement will be based on a number of
factors, including but not limited to, the time spent as well as the
complexity of the services we will perform.
We reserve the right to suspend our services or to withdraw from this
engagement in the event that any of our invoices are deemed delinquent. In
the event that any collection action is required to collect unpaid balances
due us, the company agrees to reimburse us for the costs of collection
including attorneys' fees.
Any inability to sign a tax return, or non-response of information
requested will constitute a basis for our election to terminate our




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 38 of 69 PageID #:
services. If we elect to terminate our services, our engagement will be
deemed to have been completed upon written notification of termination,
even if we have not completed the returns. The company will be obligated,
through the date of termination, to compensate us for all outstanding
invoices as well as our final invoice.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response.
In the event that we become obligated to pay any judgement or similar




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award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
If the foregoing is in accordance with your understanding, please sign the
copy of this letter in the space provided and return it to us.
Very truly yours,
Voratir, OlgarWanoi avmpany,
VOYMOW, BAYARD AND COMPANY
Certified Public Accountants
ACKNOWLEDGED:
Steve Koufakis
Date
PARTNEP.Si
Ron Ella' N. ravAno, CPA
KENNETH MANN, CPA
HUGH WHYTE, CPA
RANDALL E. FRANZEN, CPA
DAVID A. EAPLAN, CPA
STEvEN W. WHITE, CPA
VOYNOW, BAYARD AND COMPANY
CERTIFIED PUBLICACCOUNTANTS
NoraHailooK CORVORATE CENTER
1210 NORTHBROOK D EWE. SUITE 140
TREVOSE, PENNSYLVAMA 19033
(215)355406D
PAX s (215)395.2000




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 39 of 69 PageID #:
December.30, 2009
Mr. aohn Kaufakis
Star Nissan, Inc.
206-26 Northern Boulevard
Bayside, NY 11361
Re: Star Nissan, Inc.
Dear John:
PAU I. YOYNOW, Cg
We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax




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return(s).
We will prepare the 2009 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2009. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities.
We will prepare the returns from information provided us. It is your
responsibility to provide all the information required, for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive:
• Reconciling of Retained Earnings
• Recognition of Depreciation and Amortization. gxpenses
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be no reliance,
stated ox implied, by a company on the accuracy of the assistance we are to
IYD3mBER 'AMERICAN INSTITUTE 011 CERTIFIED PUBLIC ACCOUNTANTS
MIIMDER r PENNSYLVANIA.INS'riTUTEOPCERTIVIEDPOBLICACCOUNTANTS
Star Nissan, Inc.
December 30, 2009
Page 2
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 40 of 69 PageID #:
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to




                                                                                                                  1060
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may he necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Star Nissan, Inc.
December 30, 2009
Page 3
Our fees for this engagement are not contingent on the results of our
service. Rather, our fees for this engagement will be based on a number of
factors, including but not limited to, the time spent as well as the
complexity of the services we will perform.
Any inability to sign a tax return, or non-response of information
requested will constitute a basis for our election to terminate our
services. If we elect to terminate our services, our engagement will be
deemed to have been completed upon written notification of termination,
even if we have not completed the returns. The company will be obligated,
through the date of termination, to compensate us for all outstanding
invoices as well as our final invoice.




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 41 of 69 PageID #:
The company should retain all documents, cancelled checks, and other data
that form the basis of income, deductions, and credits. These maybe
necessary to prove the accuracy and completeness of the returns to a taxing
authority. The company has the final responsibility for the tax returns
and, therefore, it should be reviewed carefully before being signed.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
Information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response.
In the event that we become obligated to pay any judgement or similar




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award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
If the foregoing is in accordance with your understanding, please sign the
copy of this letter in the space provided and return it to us.
Very truly yours,
Votpuo., Campo,
VOYNOW, BAYARD AND COMPANY
Certified Public Accountants
ACKNOWLEDGED:
john Koufakis
Date
PAHTTHEISI
RO Ila'r MI:JAVAN:1i CPA.
aNunorn MANN, CPA
HUGH imart, CPA
RANDALL E. FRANZEN, CPA
DAVID A. KAPLAN, CPA
STEW-NW. WHITE, CPA
VOYNOW, BAYAR:D AND COMPANY
CERTIPIED PUBLIC ACCOUNTANTS
NoRTHDRO OK CORPORATE CENTER
1210 NORTHBROOK DRIVE, SUITE 140
TREVOSE, PENNSYLVANIA 19053
355.800
PA's: 0E93964000




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 42 of 69 PageID #:
DeceMber.30, 2009
Mr. Stephen Aoufakis
Star Chrysler, Inc.
206-26 Northern Boulevard
Bayside, NY 11361
Re: Star Chrysler, Inc.
Dear Stephen:
PAUL VOYNOW, CPA
We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax




                                                                                                                  1062
return(s).
We will prepare the 2009 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2009. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities.
We will prepare the returns from information provided us. It is your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive:
Reconciling of Retained Earnings
Recognition of Depreciation and Amortization Expenses
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be no reliance,
stated or implied, by a company on the accuracy of the assistance we are to
•
MEMBER • AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
MEMBER', PENNSYLVANIA INSTLTErra OF CERTIPIRD PUBLIC ACCOUNTANTS,
a
Star Chrysler
December 30, 2009
Page 2
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 43 of 69 PageID #:
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
.certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to




                                                                                                                  1063
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Star Chrysler, Inc.
December 30, 2009
Page 3
Our fees for this engagement are not contingent on the results of our
service. Rather, our fees for this engagement will be based on a number of
factors, including but not limited to, the time spent as well as the
complexity of the services we will perform.
Any inability to sign a tax return, or non-response of information
requested will constitute a basis fox our election to terminate our
services. If we elect to terminate our services, our engagement will be
deemed to have been completed upon written notification of termination,
even if we have not completed the returns. The company will be obligated,
through the date of termination, to compensate us for all outstanding
invoices as well as our final invoice.




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 44 of 69 PageID #:
The company should retain all documents, cancelled checks, and other data
that form the basis of income, deductions, and credits. These may be
necessary to prove the accuracy and completeness of the returns to a taxing
authority. The company has the final responsibility for the tax returns
and, therefore, it should be reviewed carefully before being signed.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response.
In the event that we become obligated to pay any judgement or similar




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award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
If the foregoing is in accordance with your understanding, please sign the
copy of this letter in the space provided and return it to us.
Very truly yours,
VOTAN9W) earitlang COPMpany,
VOYNOW, BAYARD AND COMPANY
Certified Public Accountants
ACKNOWLEDGED:
Stephen Koufakis
Date
PARTNERS.:
ROI:1E8X H. BAYA13.13, CPA
KENNETH MANN, CPA
HUGH WHYTE, CPA
RAND/ILL. E. FRANZEN, CM
DAVID A. MIA% CPA
S =YEN 1HTE1 CPA
VOYNOW1 BAYARD AND COMPANY
CERTIFIED PUBLIC ACCOUNTANTS
NORT HEW 010 CORP ORATE CENTER
1210 No1TnDRooIcDm VE, SUITE 140
TREVOSE, PENNSYLVANIA 19053
(215) 355.8000
FAx: (215)396-2000




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 45 of 69 PageID #:
DeceMber.30, 2009
Mr. Steve Koufakis
Metro Chrysler
c/o Star Nissan, Inc.
206-26 Northern Boulevard
Bayside, NY 11361
Re: Metro Chrysler
Star Auto Body of Queen Village LLC
Dear Steve:
min.vomow, cpik.
We are pleased to confirm and specify the terms of our engagement with the




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above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax
return (s).
We will prepare the 2009 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2009. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities.
We will prepare the returns from information provided us. It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive:
• Reconciling of Retained Earnings
• Recognition of Depreciation and Amortization Expenses
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
MEMBER • AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
MEMBER PENNSYLVANIA. !MT ITUTE OE CERTIFIED PU1311C ACCOUNTANTS
Metro Chrysler
December 30, 2009
Page 2
of a company's accounting system; therefore, there should be no reliance,
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 46 of 69 PageID #:
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of out of
scope" services, we will discuss the nature and extent of the work that




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clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no easonable basis.
Metro Chrysler
December 30, 2009
Page 3
Our fees for this engagement are not contingent on the results of our
service. Rather, our fees for this engagement will be based on a number of
factors, including but not limited to, the time spent as well as the
complexity of the services we will perform.
Any inability to sign a tax return, or non-response of information
requested will constitute a basis for our election to terminate our
services. If we elect to terminate our services, our engagement will be
deemed to have been completed upon written notification of termination,
even if we have not completed the returns. The company will be obligated,
through the date of termination, to compensate us for all outstanding
invoices as well as our final invoice.




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 47 of 69 PageID #:
The company should retain all documents, cancelled checks, and other data
that form the basis of income, deductions, and credits. These may be
necessary to prove the accuracy and completeness of the returns to a taxing
authority. The company has the final responsibility for the tax returns
and, therefore, it should be reviewed carefully before being signed.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response.
In the event that we become obligated to pay any judgement or similar




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award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
If the foregoing is in accordance with your understanding, please sign the
copy of this letter in the space provided and return it to us.
Very truly yours,
atracearhcl afact essiltpcunit
i).,
VOYNOW, BAYARD AND COMPANY
Certified Public Accountants
ACKNOWLEDGED:
Steve Koufakis
Date
VOYNOW, BAYARD AND COMPANY
CERTIPIBEF PUBLIC ACCOUNTANTS
NOR'XI-IBRO =CORPORATE CENTER
PARTNERS: 1210 NORTE BR 0 OK DRIVE, SUITE 140
ROE SET H. BOARD. cm.
KENNETH MANN, CPA TREVOSEe PENNSYLVANIA 19053
itUCH wurn, CPA (215) 3$5.8000
RANDALL E. FRANZE Ns CPA FAX; (115)3964000
DAVID A. EAPLAN, CPA
STEVEN W. morE, CPA
December 15, 2010
Mr. Michael Koufakis
Star Nissan, Inc.
206-26 Northern Boulevard




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 48 of 69 PageID #:
Bayside, NY 11361
Re: Star Nissan, Inc.
Metro Chrysler
Star Toyota
Star Auto Body of Queen Village LLC
Star Auto Sales of Queens, LLC (Star Subaru)
Star Mitsubishi
Koufakis Reality LLC
Koufakis Realty 211-52 Jamaica Ave
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC




                                                                                                                  1068
Star Hyundai, LLC
205-11 Northern Blvd, LLC
The Koufakis Childrens Trust
Dear Mr. Koufakis:
PAUL VOTNOW, cPA
We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax
return(s).
We will prepare the 2010 federal tax return, and tax returns for the state
and. localities of organization and/or where doing business (collectively,
the "returns) in 2010. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will he satisfied upon our electronic filing (e-filing)
(federally mandated for 2010) and/or delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities and/or for providing to us the appropriate
authorization for e-filing.
We will prepare the returns from information provided us. It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we mender any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not nece'Ssarily all
inclusive, however, it is usually limited to, as follows:
MAUER. • A/riERI CAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
15133MBER• PENNSYLVANIA. INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
•
Mr. aohn Koufakis
December 15, 2010
Page 2
Reconciliation of Retained Earnings
Recognition of Depreciation and. Amortization Expenses
Reconciliation of Shareholder or Partner Loans
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be no reliance,
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 49 of 69 PageID #:
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a




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tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that came to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
Mr. John Konfakis
December 15, 2010
Page 3
You should retain all books and records, documents, cancelled checks, and
other data that form the basis of income, deductions, and credits. These
may be necessary to prove the accuracy and completeness of the returns to a
taxing authority. The taxpayer has the final responsibility for the tax
returns and, therefore, they should be reviewed carefully before being
signed.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 50 of 69 PageID #:
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Our fees for this engagement are not contingent on the results of our
services. Rather, our fees for this engagement will be based on a number
of factors, including but not limited to, the time spent as well as the
complexity of the services we will perform, subject to any existing overall
fee arrangement with us.




                                                                                                                  1070
Any inability on our part to sign a tax return, such as a disagreement over
a disclosure of a tax position, non-response by you of information
requested or non-payment of fees (among other things) will constitute a
basis for our election to terminate our services. If we elect to terminate
our services, our engagement will be deemed to have been completed upon
written notification of termination, even if we have not completed the
returns. The company will be obligated, through the date of termination,
to compensate us for all outstanding invoices as well as our final invoice
for our time through the date of our withdrawal.
The IRS permits you to authorize us to discuss with its representatives, on
a limited basis, aspects of your return for one year after the return's due
date. Your consent to such a discussion is evidenced by checking a box on
the return. Unless you tell us otherwise/ we will check that box
authorizing the IRS to discuss your return with us. According to IRC Sec.
7216, we cannot authorize the use of or disclose any tax information
(including just simply your name and address) to third parties at your
request, without your expressed written consent. Please find enclosed
consent forms for your convenience of reply with the return of this
engagement letter.
Certain communications involving tax advice are privileged and not subject
to disclosure to the IRS. Ry disclosing the contents of those
communications to anyone, or by turning over information about those
communications to the government, you, your employees or agents may be
waiving this privilege. To protect this right to privileged communication,
please consult with us or your attorney prior to disclosing any information
about our tax advice. Should you decide that it is appropriate for us to
disclose any potentially privileged communication, you agree to provide us
with written, advance authority to make that disclosure.
Mr. John Koufakis
December 15, 2010
Page 4
Should you receive any request for the disclosure of privilege information
from any third party, including a subpoena or IRS summons, we will notify
you. In the event that you direct us not to make the disclosure, you agree
to hold us harmless for any expenses incurred in defending the privilege,
including, by way of illustration only, our attorney's fees, court costs,
outside adviser's costs, or penalties or fines imposed as a result of your
asserting the privilege or your direction to us to assert the privilege.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 51 of 69 PageID #:
the time we expend in connection with such response, and to reimburse us
for all f our out-of-pocket costs incurred in the regard.
In the event that we become obligated to pay any judgement or similar
award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
If, after full consideration and consultation with counsel if so desired,
the company agrees to authorize us to prepare the tax returns pursuant to
the terms set forth above, please execute this letter on the line below




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designated for signature by an officer, and return this executed letter to
this office. The company should keep a copy of this fully executed letter
for its records. Once we receive from you this executed letter, and only
then, can we commence with the process involved in the preparation of your
tax returns.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
Very truly yours,
aliffAci
VOYNOW„ BAYARD AND COMPANY
Certified Public Accountants
ACCEPTED AND AGREED:
Mr. John Koufakis
Date
)
PARTNERS:
HUGH WHYIZ, CPA
KENNETH MANN, CPA
RANI:MLLE. VRANz2N„ CA
DAVID A. KAPLAN, CPA
ROBERT KIRKHOPE, CPA
SHAWN P. McCORMACK
ItODEVP,SEHmt., crA
STEVEN W. WHITE, CPA
VOYNOW, BAYARD, WHYTE AND COMPANY, LLP
CERTIFIED PUBLIC ACCOUNTANTS
NORTHBROOK CORPORATE CENTER
1210 NORTHBROOK DRIVE, SUITE 140




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 52 of 69 PageID #:
TREVOSE, PENNSYLVANIA 14053
(215) 355.0010
FAX: (215)396-2000
Mr. Michael Koufakis
Star Nissan, Inc.
206-26 Northern Boulevard
Bayside, NY 11361
Re:
Star Auto Sales off Queens County,
Star Hyundai, LLC
Koufakis Reality LLC




                                                                                                                  1072
Koufakis Realty 211-52 Jamaica
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC
205-11 Northern Blvd, LLC
The Koufakis Childrens Trust
Dear Mx. Koufakis:
December 15, 2011
Star Nissan, Inc.
Star Chrysler Jeep Dodge
Star Auto Sales of Bayside, Inc (Star
Star Auto Body of Queen Village LLC
Star Auto Sales of Queens, LLC (Star Subaru)
Star Star Auto Sales of Queens Village, LLC (Star
(Star Fiat)
LLC
Ave
Toyota)
PAULVOVN0W, CPA*
Roll= It BAYARD, CPA*
*INACTIVE STATUS
Mitsubishi)
We are pleased to confirm and specify the terms of our engagement
above mentioned companies and to clarify the nature and extent of
services we will provide regarding the preparation of its (their)
return(s).
with the
the
tax
We will prepare the 2011 federal tax return, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2011. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon our electronic filing (e-filing)
(federally mandated for 2011) and/or delivery of the completed returns.
Therefore, you will be solely responsible for filing the returns with the
appropriate taxing authorities and/or for providing to us the appropriate
authorization for e-filing.
We will prepare the returns from information provided us. It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
MEMBER • AMERICAN INSTITUTE OP CERTIFIED PUBLIC ACCOUNTANTS
MEMBER* PENNSYLVANIA INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
MX. John Koufakis
December 15, 2011
Page 2
based on the information supplied to us. This list is not necessarily all
inclusive, however, it is usually limited to, as follows:
â€¢ Reconciliation of Retained Earnings
â€¢ Recognition of Depreciation and Amortization Expenses
â€¢ Reconciliation of Shareholder or Partner Loans
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be no reliance,




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 53 of 69 PageID #:
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A




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company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Mr. aohn Koufakis
December 15, 2011
Page 3
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
You should retain all books and records, documents, cancelled checks, and
other data that form the basis of income, deductions, and credits. These
may be necessary to prove the accuracy and completeness of the returns to a
taxing authority. The taxpayer has the final responsibility for the tax
returns and, therefore, they should be reviewed carefully before being
signed.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 54 of 69 PageID #:
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Our fees for this engagement are not contingent on the results of our
services. Rather, our fees for this engagement will be based on a number
of factors, including but not limited to, the time spent as well as the




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complexity of the services we will perform, subject to any existing overall
fee arrangement with us.
Any inability on our part to sign a tax return, such as a disagreement over
a disclosure of a tax position, non-response by you of information
requested or non-payment of fees (among other things) will constitute a
basis for our election to terminate our services. If we elect to terminate
our services, our engagement will be deemed to have been completed upon
written notification of termination, even if we have not completed the
returns. The company will be obligated, through the date of termination,
to compensate us for all outstanding invoices as well as our final invoice
for our time through the date of our withdrawal.
The IRS permits you to authorize us to discuss with its representatives, on
a limited basis, aspects of your return for one year after the return's due
date. Your consent to such a discussion is evidenced by checking a box on
the return. Unless you tell us otherwise, we will check that box
authorizing the IRS to discuss your return with us. According to IRC Sec.
7216, we cannot authorize the use of or disclose any tax information
(including just simply your name and address) to third parties at your
request, without your expressed written consent. Please find enclosed
consent forms for your convenience of reply with the return of this
engagement letter.
Certain communications involving tax advice are privileged and not subject
to disclosure to the IRS. By disclosing the contents of those
communications to anyone, or by turning over information about those
communications to the government, you, your employees or agents may be
waiving this privilege. To protect this right to privileged communication,
please consult with your attorney prior to disclosing any information
Mx. John Koufakis
December 15, 2011
Page 4
about our tax advice. Should you decide that it is appropriate for us to
disclose any potentially privileged communication, you agree to provide us
with written, advance authority to make that disclosure.
Should we receive any request for the disclosure of privileged information
from any third party, including a subpoena or IRS summons, we will notify
you. In the event that you direct us not to make the disclosure, you agree
to hold us harmless for any expenses incurred in defending the privilege,
including, by way of illustration only, our attorney's fees, court costs,
outside adviser's costs, or penalties or fines imposed as a result of your
asserting the privilege or your direction to us to assert the privilege.
In the event we are required to respond to a subpoena, court order or other




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 55 of 69 PageID #:
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response, and to reimburse us
for all f our out-of-pocket costs incurred in the regard.
In the event that we become obligated to pay any judgement or similar
award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.




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If, after full consideration and consultation with counsel if so desired,
the company agrees to authorize us to prepare the tax returns pursuant to
the terms set forth above, please execute this letter on the line below
designated for signature by an officer, and return this executed letter to
this office. The company should keep a copy of this fully executed letter
for its records. Once we receive from you this executed letter, and only
then, can we commence with the process involved in the preparation of your
tax returns.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
Very truly yours,
Unimtv-, garganl CoVpmn?
VOYNOW, BAYARD AND COMPANY
Certified Public Accountants
ACCEPTED AND AGREED:
Mx. Michael Koufakis
Date
VOYNOW BAYARD WHYTE
AND 0 0 MPANY, LLP
CIERTZPIED PUBLIC 14.000.1.72TTANTS
December 28, 2012
Mr. Michael Koufakis
Star Nissan, Inc.
206-26 Northern Boulevard
Bayside, NY 11361
PARTNERS:
111POII win•Tr.
Nur:NEVI MANN, CPA
I'IDLt I. ptiat211N, CPA
tiAVID A. KAPLAN. CPA
Ittrap,T KittRila cr&




                                                                                                    Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 56 of 69 PageID #:
SHAWN P. MCCOKSIACK
ROUZRT P. seSii2L, LTA
sTnygli v. VII t7t, crn
tkulawmAmv
PODERT H. BAYARD, cr.'.'
'INACTIVE
Re: Star Auto Sales of Bayside, Inc. (Star Toyota)
Star Nissan, Inc.
Star Chrysler Jeep Dodge
Star Auto Sales of Queens, LLC (Star Subaru)
Star Auto Sales of Queens Village, LLC (Star Mitsubishi)




                                                                                                                                        1076
Star Auto Sales of Queens County, LLC (Star Fiat)
Star Hyundai, LLC
Star Auto Body of Queens Village LLC
Star Prep of Queens, LLC
Koufakis Realty LLC
Koufakis Realty 211-52 Jamaica Ave
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC
205-11 Northern Blvd, LLC
The Koufakis Children s Trust
Georgia Koufakis Trust
John H. Koufakis Grandchildren's Trust
Dear Mr. Koufakis:
We are pleased to confirm and specify the terms of our engagements with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation. of their tax returns.
We will prepare the 2012 federal tax returns, and tax returns for the state.
and localities of organization and/or where doing business (collectively,
the %%returns") in 2012. You are responsible for providing us all
information necessary to identify all state and localities in which they
conduct business or derive income.
Our engagement will be satisfied upon our electronic filing (e-filing)
and/or delivery of the completed returns. Therefore, you will be solely
responsible for filing the returns with the appropriate taxing authorities
and/or for providing to us the appropriate authorization for e-filing.
We will prepare the returns from information provided us. It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent 'we render any services, it will
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MEM/IIIR • AMERICAN INSTITUTE DP CEILTIVIIM PUBLIC ACCOuNTANTs
Taw:tett • PP.NNSYLVANIA IN%TITIJTE cr.wrinnt) irumac At couNTANTs
Mt. Michael Koufakis
December 28, 2012
Page 2
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive, however, it is usually limited to, as follows:
• Reconciliation of Retained Earnings
• Recognition of Depreciation and Amortization Expenses
• Reconciliation of Shareholder or Partner Loans
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the




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completeness or accuracy of the information supplied and the assistance we
do provide is not to be construed as an oversight function, in any respect,
of a company's accounting system; therefore, there should be no reliance,
stated or implied, by a company on the accuracy of the assistance we are to
provide. As a result of our assistance, we may propose standard, adjusting,
or correcting journal entries to your books and records. The company,
however, has final responsibility for reviewing the proposed entries and
understanding the nature and impact of the proposed entries on the returns.
Furthermore, it is the company's responsibility, once these entries have
been agreed to, to post the entries to its accounting system in a timely
manner.




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The law provides various penalties that may he imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.
Mr. Michael Koufakis
December 28, 2012
Page 3
You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Vurthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
You should retain all books and records, documents, cancelled checks, and
other data that form the basis of income, deductions, and credits. These
may be necessary to prove the accuracy and completeness of the returns to a
taxing authority. The taxpayer has the final responsibility for the tax
returns and, therefore, they should be reviewed carefully before being




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 58 of 69 PageID #:
signed.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may




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we sign a tax return with a tax position that has no reasonable basis.
Our fees for this engagement are not contingent on the results of our
services. Rather, our fees for this engagement will be based on a number
of factors, including but not limited to, the time spent as well as the
complexity of the services we will perform, subject to any existing overall
fee arrangement with us.
Any inability on our part to sign a tax return, such as a disagreement over
a disclosure of a tax position, non-response by you of information
requested or non-payment of fees (among other things) will constitute a
basis for our election to terminate our services. If we elect to terminate
our services, our engagement will be deemed to have been completed upon
written notification of termination, even if we have not completed the
returns. The company will be obligated, through the date of termination,
to compensate us for all outstanding invoices as well as our final invoice
for our time through the date of our withdrawal.
The IRS permits you to authorize us to discuss with its representatives, on
a limited basis, aspects of your return for one year after the return's due
date. Your consent to such a discussion is evidenced by checking a box on
the return. Unless you tell us otherwise, we will check that box
authorizing the IRS to discuss your return with us. According to IRC Sec.
7216, we cannot authorize the use of or disclose any tax information
(including just simply your name and address) to third parties at your
request, without your expressed written consent. Please find enclosed
consent forms for your convenience of reply with the return of this
engagement letter.
Mr. Michael Koufakis
December 28, 2012
Page 4
Certain communications involving tax advice are privileged and not subject
to disclosure to the IRS. By disclosing the contents of those
communications to anyone, or by turning over information about those
communications to the government, you, your employees or agents may be
waiving this privilege. To protect this right to privileged communication,
please consult with your attorney prior to disclosing any information
about our tax advice. Should you decide that it is appropriate for us to
disclose any potentially privileged communication, you agree to provide us
with written, advance authority to make that disclosure.
Should we receive any request for the disclosure of privileged information
from any third party, including a subpoena or IRS summons, we will notify




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 59 of 69 PageID #:
you. In the event that you direct us not to make the disclosure, you agree
to hold us harmless for any expenses incurred in defending the privilege,
including, by way of illustration only, our attorney's fees, court costs,
outside adviser's costs, or penalties or fines imposed as a result of your
asserting the privilege or your direction to us to assert the privilege.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response, and to reimburse us
for all f our out-of-pocket costs incurred in the regard.




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In the event that we become obligated to pay any judgement or similar
award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
If, after full consideration and consultation with counsel if so desired,
the company agrees to authorize us to prepare the tax returns pursuant to
the terms set forth above, please execute this letter on the line below
designated for signature by an officer, and return this executed Letter to
this office. The company should keep a copy of this fully executed letter
for its records. Once we receive from you this executed letter, and only
then, can we commence with the process involved in the preparation of your
tax returns.
Mr. Michael Koufakis
December 28, 2012
Page 5
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let-us know. We will be pleased to discuss
this letter with you at any time.
Very truly yours,
/harm)) eara, & LEP
VOYNOW, BAYARD, WHYTE & COMPANY, III2P
Certified Public Accountants
ACCEPTED AND AGREED:
M=. Michael Roufakis
Date




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                                                                                                                1080
VOYNOW BAYARD WE-37E
AND COMPANY, LLP
CERTIFIED PUBLIC ACCOUNTANTS
January 2, 2014
Mt. Michael Koufakis
Star Nissan, Inc.
206-26 Northern Boulevard
Bayside, NY 11361
PARTNERS:
Huolf WHYTE, CPA
KENNETH MANI% CPA
RANDALL'S. FRANZEN, CPA
DAVM A. KAPIAN, CPA
RoDERT KIRKHorE, CPA




                                                                                                    Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 61 of 69 PageID #:
SHAWN P. MCCORMACK
nonERT sz/DEL, CPA
FAVLVOYNOW, CPAs
RORERT H. BAYARD, cpA4
*INACTIVE
Re: Star Auto Sales of Bayside, Inc. (Star Toyota)
Star Nissan, Inc.
Star Chrysler Jeep Dodge
Star Auto Sales of Queens, LLC (Star Subaru)
Star Auto Sales of Queens Village, LLC (Star Mitsubishi)
Star Auto Sales of Queens County, LLC (Star Fiat)




                                                                                                                                        1081
Star Hyundai, LLC
Star Auto Body of Queens Village LLC
Koufakis Realty LLC
Koufakis Realty 211-52 Jamaica Ave
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC
205-11 Northern Blvd, LLC
The Koufakis Childrens Trust
Georgia Koufakis Trust
John M. Koufakis Grandchildren's Trust
Dear Michael:
We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax
return (s)
We will prepare the 2013 federal tax returns, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2013. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.
Our engagement will be satisfied upon our electronic filing (e-filing)
and/or delivery of the completed returns. Therefore, you will be solely
responsible for filing the returns with the appropriate taxing authorities
and/or for providing to us the appropriate authorization for e-filing.
NORTHBROOK CORPORATE CENTER • 12:10 NORTHBROOK DRIVE • SUITE 140 • TREVOSE, PA 190536215.355..8o o o .215.396,2000
MEMBER AMERICAN INSTITUTE OP CERTIFIED PUBLIC ACCOUNTANTS
MEMBER.. PENNSYLVANIA INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
Mr. Michael Koufakis
aanuary 2, 2014
Page 2
We will prepare the returns from information provided us. It is the your
responsibility to provide all the information required for the preparation
of complete and accurate returns. We will not audit or otherwise verify
the information submitted. To the extent we render any services, it will
be limited to those tasks we deem necessary for the preparation of the
returns only. Historically, we have provided assistance in preparing
certain reconciliations of balance sheet and income statement accounts
based on the information supplied to us. This list is not necessarily all
inclusive, however, it is usually limited to, as follows:
Reconciliation of Retained Earnings
Recognition of Depreciation and .Amortization Expenses




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 62 of 69 PageID #:
Reconciliation of Shareholder or Partner Loans
Unless otherwise noted by you, this same assistance will be provided during
the current year engagement and is subject to the same terms and conditions
set forth in this letter. Please note that we will not determine the
completeness or accuracy of the information supplied and the assistance
we do provide is not to be construed as an oversight function, in any
respect, of a company's accounting system; therefore, there should be no
reliance, stated or implied, by a company on the accuracy of the assistance
we are to provide. As a result of our assistance, we may propose standard,
adjusting, or correcting journal entries to your books and records. The
company, however, has final responsibility for reviewing the proposed




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entries and. understanding the nature and impact of the proposed entries on
the returns. Furthermore, it is the company's responsibility, once these
entries have been agreed to, to post the entries to its accounting system
in a timely manner.
Unless we are otherwise advised, you are responsible for confirming that
personal expenses, if any, are segregated from business expenses and
expenses such as meals, travel, entertainment, vehicle use, gifts, and
related expenses, are supported by necessary records required by the IRS
and other taxing authorities. At your request, we are available to answer
your questions and advise you on the types of supporting records required.
The law provides various penalties that may be imposed when taxpayers
understate their liability. You acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.
Any additional services not referenced above will be considered "out of
scope" of this engagement letter. Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.
The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient
Mr. Michael Koufakis
January 2, 2014
Page 3
information from which to prepare the return within a reasonable period of
time prior to the applicable filing deadline.
It may become necessary to apply for an extension of the filing deadline if
there are unresolved tax issues or delays in processing, or if we do not
receive all of the necessary information from you on a timely basis.
We will not audit or otherwise verify the data submitted. Accordingly, our
engagement cannot be relied upon to disclose errors, fraud, or other
illegal acts that may exist. However, it may be necessary to ask the
company for clarification of some of the information provided, and we will
inform the company of any material errors, fraud, or other illegal acts
that come to our attention.




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You are responsible for maintaining an adequate and efficient accounting
system, for safeguarding assets, for authorizing transactions, and for
retaining supporting documentation for those transactions, all of which
will among other things, help assure the preparation of proper returns.
Furthermore, you are responsible to review all of the information presented
on the tax returns for correctness.
You acknowledge your responsibility to inform us of any listed transactions
or transactions of interest as designated by the IRS. You agree to hold us
harmless with respect to any additional taxes, penalties or interest
imposed on you by taxing authorities resulting from your failure to time
notify us, in writing, of all such transactions in order to facilitate the




                                                                                                                  1083
timely preparation and filing of your tax returns.
You should retain all books and records, documents, cancelled checks, and
other data that form the basis of income, deductions, and credits. These
may be necessary to prove the accuracy and completeness of the returns to a
taxing authority. The taxpayer has the final responsibility for the tax
returns and, therefore, they should be reviewed carefully before being
signed.
We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the capany's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Our fees for this engagement are not contingent on the results of our
services. Rather, our fees for this engagement will be based on a number
of factors, including but not limited to, the time spent as well as the
complexity of the services we will perform, subject to any existing overall
fee arrangement with us.
Any inability on our part to sign a tax return, such as because of a
disagreement over a disclosure of a tax position, non-response by of
Mr. Michael Koufakis
January 2, 2014
Page 4
information requested or non-payment of fees (among other things) will
constitute a basis for our election to terminate our services. If we elect
to terminate our services, our engagement will be deemed to have been
completed upon written notification of termination, even if we have not
completed the returns. The company will be obligated, through the date of
termination, to compensate us for all outstanding invoices as well as our
final invoice for our time through the date of our withdrawal.
The IRS permits you to authorize us to discuss with its representatives, on
a limited basis, aspects of your return for one year after the return's due
date. Your consent to such a discussion is evidenced by checking a box on
the return. Unless you tell us otherwise, we will check that box




                                                                              Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 64 of 69 PageID #:
authorizing the IRS to discuss your return with us. According to IRC Sec.
7216, we cannot authorize the use of or disclose any tax information
(including just simply your name and address) to third parties at your
request, without your expressed written consent under a prescribed IRS
format.
Certain communications involving tax advice are privileged and not subject
to disclosure to the IRS. By disclosing the contents of those
communications to anyone, or by turning over information about those
communications to the government, you, your employees or agents may be
waiving this privilege. To protect this right to privileged communication,
please consult with us or your attorney prior to disclosing any information




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about our tax advice. Should you decide that it is appropriate for us to
disclose any potentially privileged communication, you agree to provide us
with written, advance authority to make that disclosure.
Should you receive any request for the disclosure of privilege information
from any third party, including a subpoena or IRS summons, we will notify
you. In the event that you direct us not to make the disclosure, you agree
to hold us harmless for any expenses incurred in defending the privilege,
including, by way of illustration only, our attorney's fees, court costs,
outside adviser's costs, or penalties or fines imposed as a result of your
asserting the privilege or your direction to us to assert the privilege.
In the event we are required to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response, and to reimburse us
for all of our out-of-pocket costs incurred in this regard.
In the event that we become obligated to pay any judgement or similar
award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.
If, after full consideration and consultation with counsel if so desired,
the company agrees to authorize us to prepare the tax returns pursuant to
the terms set forth above, please execute this letter on the line below
designated for signature by an officer, and return this executed letter to
this office. The company should keep a copy of this fully executed letter
Mr. Michael Koufakis
January 2, 2014
Page 5
for its records. Once we receive from you this executed letter, and only
then, can we commence with the process involved in the preparation of your
tax returns.
We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.
Very truly yours,
Vorww-, eara, 'Wyk & CeufttpalTlyil 1203
VOYNOW, BAYARD, WHYTE & COMPANY, LLP
Certified Public Accountants




                                                                             Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 65 of 69 PageID #:
ACCEPTED AND AGREED:
Michael Koufakis
Date




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VOYNOW BAYARD WHyTE
AND COMPANY, LLP
(mamma PUBLIC! .A.aa017NTANTS
Mr. Michael Koufakis
Star Nissan, Inc
206-26 Northern Blvd
Bayside, NY 11361
RE: 205-11 Northern Blvd, LLC
210-10 Jamaica Ave, LLC
211-48 Jamaica Ave, LLC
Koufakis Realty, LLC
January 30, 2015
IMAIVERS:
MOOR 'WEPT; CPA




                                                                                                    Case 1:18-cv-05775-ERK-TAM Document 108-5 Filed 08/21/23 Page 66 of 69 PageID #:
KIIIINETii MANN, CPA
RANDALL E. FRANZENi CPA
DAvir• A. KAPLAN, CPA
RODERT KIREHOPE, CPA
SHAWN P. MCCORMACK
ROBERT P.5E1E134, CPA
PAUL VOYMOT4 CPAs
ROBERT H. BAYARD. CPA"
*INACTIVE
Georgia Koufakis Trust
Koufakis Childrens Trust




                                                                                                                                        1086
John M. Koufakis Grandchildrens
Trust
Koufakis Realty 211-52 Jamaica Avenue, LLC
Star Auto Body of Queens Village, LLC
Star Auto Sales of Bayside/ Inc
Star Auto Sales of Queens, LLC
Star Auto Sales of Queens County, LLC
Star Auto Sales of Queens Village, LLC
Star Chrysler Jeep Dodge
Star Hyundai, LLC
Star Nissan, Inc
Dear Mr. Koufakis:
We are pleased to provide you with the professional services
described. below. This letter confirms our understanding of the
terms and objectives of our engagement and the nature and
limitations of the services we will provide. This engagement
between you and our firm will be governed by the terms of this
letter. We will perform our services in accordance with the
Statements on Standards for Tax Services issued by the American
Institute of Certified Public Accountants.
Scope of Engagement
We will prepare the 2014 federal tax return for the above
entity(ies) (including, if applicable, special Forms 3115 and
related elections and disclosures for taxpayer compliance with the
2014 mandated reporting under Treasury's final "Tangible Property
Regulations") and tax returns for the state and
NORTHBROOK CORPORATE CHNTEX?.• IzIo NORTHBROOK URINE. SUITE 140 TREVoS13, PA 19053 • 215.355.8000 .215.396.2000 F
MEMBER • AMBRIcAN iNSTITUTB OF CERTIRIBD PUBLIC ACCOUNTANTS
tiBtiBER • psHNsYLvANIA 1NSTXTUTE OF CERTIFIED PUBLIc Accoutmarrs
Mr. Michael Koufakis
January 30, 2015
Page 2
localities of organization and/or where doing business
(collectively, the "returns" in 2014). You are responsible for
providing us all information necessary to identify all state and
localities in which business is conducted or income is derived.
We will not prepare any tax returns except those identified
without your written authorization to do so. We will prepare your
tax returns based upon information and representations
provided to us. We will not audit or otherwise verify the data
you submit to us, although we may ask you to clarify some of the
information. We will prepare the tax returns solely for filing
with the Internal Revenue Service ("IRS") and state and local tax




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authorities. They are not intended to benefit or influence any
third party, either to obtain debt or equity financing or for any
other purpose. As such, we will not respond to any request from
banks, mortgage brokers or other lenders for verification of any
any information reported on these tax returns.
As a result, you agree to indemnify and hold our firm and any of
its partners, principals, members, employees, agents or assigns
harmless with respect to any and all claims arising from the use
of the tax returns for any purpose other than filing with the IRS
and state and local tax authorities regardless of the nature of
the claim, including the negligence of any party.




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Client Responsibilities
You will provide us with a trial balance and other supporting data
needed to prepare your tax returns. It is your obligation to
provide us with accurate and complete information, including
worldwide income.
Documentation
You are responsible for maintaining an adequate and efficient
accounting system for safeguarding assets and authorizing
transactions and maintaining adequate documentation to
substantiate the accuracy and completeness of your tax returns.
You should retain all documents that provide evidence and support
for reported income, credits, and deductions on your returns as
required under tax law. You are responsible for the adequacy of
all such documents. You represent that you have such
documentation and can produce it if needed to respond to any audit
or inquiry by taxing authorities. You agree to hold us
Mr. Michael Koufakis
January 30, 2015
Page 3
harmless with respect to any additional taxes, penalties, or
interest imposed on you by taxing authorities resulting from the
disallowance of tax deductions due to inadequate documentation.
Personal Expenses
Unless we are otherwise advised, you are responsible for
confirming that personal expenses, if any, are segregated from
business expenses and expenses such as meals, travel,
entertainment, vehicle use, gifts, and related expenses that are
supported by necessary records required by the IRS and other
taxing authorities. At your request, we are available to answer
your questions and advise you on the types of supporting records




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required.
Worker Classification
You are responsible for determining the correctness of any
employment relationship which you have deemed to be that of an
independent contractor. Payroll tax withholding and related
employer payroll tax implications result from this determination.
We recommend obtaining a Form W-9, Request for Taxpayer
Identification Number and Certification, signed by the independent
contractor, as well as a signed contract with the independent
contractor. A Form 1099-M1SC, Miscellaneous Income, should be
issued to all unincorporated independent contractors to whom you




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pay $600 or more for services. In the preparation of your tax
returns, we will presume, when it appears to be self-evident from
the trial balance and other supporting data that payments were
made that met this threshold (or some other 1099 form filing
requirements), that management has filed these forms unless we are
expressly told otherwise.
Listed Transactions and Transactions of Interest
You acknowledge your responsibility to inform us of any listed
transactions or transactions of interest as designated by the IRS.
You agree to hold us harmless with respect to any additional
taxes, penalties, or interest imposed on you by taxing authorities
resulting from your failure to timely notify us, in writing, of
all such transactions in order to facilitate the timely
preparation and filing of your tax returns.
Foreign Piling Obligations
You are responsible for complying with any other country's income
Mr. Michael Koufakis
January 30, 2015
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reporting and tax filing requirements. If you have reason to
believe there exists the possibility of any foreign tax filing
obligations, please contact us to discuss your concerns.
Affordable Care Act
The Affordable Care Act ("ACA") added various new health insurance
related mandates, penalties and credits to the Internal
Revenue Code beginning in 2014. You acknowledge and agree that we
are relying solely on the information provided to us by you
in connection with the preparation of the tax forms_ Unless
notified otherwise, we are presuming that you are in compliance
with the ACA, with the knowledge that all employees in 2014 had




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minimum essential coverage or qualified for exemptions. We have
not been engaged to provide any advice regarding the eligibility
for any credits or estimates of any payments or penalties. We
recommend that you consult with your insurance broker or advisor
with respect to these matters.
Capitalization Policy
For entities owning tangible property, you were responsible for
establishing a capitalization policy for recording fixed assets as
of January 1, 2014 in order to apply the DeMinimus Safe Harbor for
deductible expenditures under the "Tangible Property Regulations",
previously noted above. You acknowledge that, in connection with




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our preparation of the required Forms 3115, if applicable, we are
relying solely on the information provided to us by management
regarding your accounting system's criteria for recording
capitalizable and non-capitalizable expenditures related to
tangible property and its categorization of tangible property, as
delineated by their depreciable lives/recovery periods prescribed
by the IRS. At your request, we are available to answer your
questions on how to further comply with the regulations.
CPA Firm Responsibilities
Our services will be limited to only those tasks we deem necessary
for the preparation of the returns. We may deem it necessary to
provide you with accounting and bookkeeping assistance in that
regard. We will request your approval before rendering these
services, if they look to be significant, since additional charges
would apply. Please note that we will not validate the
completeness or accuracy of the information supplied, and the
assistance we do provide is not to be construed
